                                         Northern District Of Ohio
                                       United States Bankruptcy Court
                                       Ralph Regula U.S. Courthouse
                                        401 McKinley Avenue SW
                                             Canton, OH 44702
                                              Case No. 21−61491−rk

In re:
   Squirrels Research Labs LLC                            The Midwest Data Company LLC
   8050 Freedom Avenue NW                                 8050 Freedom Avenue NW
   North Canton, OH 44720                                 8050 Freedom Avenue NW
                                                          North Canton, OH 44720
Social Security No.:

Employer's Tax I.D. No.:
  83−0829310                                              84−3221213


                                   NOTICE OF CONFIRMATION OF PLAN


To the Creditors and Parties in Interest:

On April 28, 2022 , this Court entered an Order confirming the Debtor's Plan of Reorganization. Be advised that the
confirmed plan and order confirming plan are on file with:


                                          United States Bankruptcy Court
                                          Ralph Regula U.S. Courthouse
                                           401 McKinley Avenue SW
                                                Canton, OH 44702



Dated: April 28, 2022                                                            For the Court
Form ohnb242                                                                  Josiah C. Sell, Clerk




   21-61491-tnap        Doc 223-1      FILED 04/28/22        ENTERED 04/28/22 12:30:29                Page 1 of 1
